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                       UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WISCONSIN


EDGEWOOD HIGH SCHOOL OF THE
SACRED HEART, INC.,                                  Case No. 3:21-cv-00118

                       Plaintiff,

        v.

CITY OF MADISON, WISCONSIN, et al.,

                       Defendants.


     PLAINTIFF EDGEWOOD HIGH SCHOOL OF THE SACRED HEART, INC.’S
             REQUESTS FOR ADMISSION TO ALL DEFENDANTS


 TO:     City of Madison, Wisconsin
         City of Madison Zoning Board of Appeals
         City of Madison Plan Commission
         City of Madison Common Council
         Zoning Administrator Matthew Tucker
         Director George Hank
         Alder Tag Evers
         c/o Attorney Sarah A. Zylstra
         Boardman & Clark LLP
         1 South Pinckney Street, Suite 410
         Madison, WI 53701

        Plaintiff Edgewood High School of the Sacred Heart, Inc. (“Edgewood”), by their

attorneys, Godfrey & Kahn, S.C., hereby requests that Defendants, in accordance with the

Definitions and Instructions set forth below, answer under oath each of the following Requests

for Admission, pursuant to Federal Rules of Civil Procedure 26 and 36. Responses to these

Requests for Admission (“Requests”) shall be served upon Plaintiff’s counsel by email or at the

offices of Godfrey & Kahn, S.C., One East Main St., Suite 500 Madison, WI 53703, no later

than thirty (30) days from service thereof.




                                                                                   EXHIBIT
                                                                                        A
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                             DEFINITIONS AND INSTRUCTIONS

       1.      Relating to, Relate to, Relates to: The terms “relating to,” “relate to” and “relates

to” are defined broadly as in any way concerning, comprising, containing, evidencing,

mentioning, respecting, bearing on, referring to, being connected with, pertaining to, reflecting

upon or resulting from, in whole or in part, directly or indirectly, the stated subject matter.

       2.      Plaintiff, Edgewood: The terms “Plaintiff” or “Edgewood” mean Edgewood High

School of the Sacred Heart, Inc., in its individual capacity, its agents, employees, representatives,

and/or all other persons and/or entitles acting for or on its behalf.

       3.      Defendants, You, Your: The terms “Defendants,” “You,” or “Your,” mean City of

Madison, City of Madison Zoning Board of Appeals, City of Madison Plan Commission, City of

Madison Common Council, Zoning Administrator Matthew Tucker, in his official capacity,

Director of Madison’s Building Inspection Division George Hank, in his official capacity, and

Alder Tag Evers, in his official capacity, their agents, employees, representatives, and/or all other

persons and/or entities acting for or on their behalf.

       4.      As used herein, the singular includes the plural, and the plural includes the

singular. Words of one gender include words of all gender, including the neuter.

       5.      If you rely on a privilege as a basis for not providing a response to any Request in

whole or in part, the basis for your claim of privilege must be described in sufficient detail in a

privilege log to permit the court to adjudicate the validity of the claim. The privilege log should

identify the applicable Request and the basis for the claim of privilege.

       6.      The following Requests are continuing in nature. You must supplement any

response if you obtain information or documents from which you know that your response was

incorrect or incomplete when made, or that the response is no longer true; failure to amend the




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response and/or produce subsequently discovered documents is in substance a knowing

concealment.

                               REQUESTS FOR ADMISSION

       REQUEST NO. 1:         Admit that Edgewood is a Catholic high school founded in 1881

by the Congregation of the Dominican Sisters of Sinsinawa.

       RESPONSE:

       REQUEST NO. 2:         Admit that Edgewood is organized as a Wisconsin nonprofit

corporation.

       RESPONSE:

       REQUEST NO. 3:         Admit that Edgewood is a “religious institution” under RLUIPA,

42 U.S.C § 2000cc, et seq.

       RESPONSE:

       REQUEST NO. 4:         Admit that Defendant City of Madison (the “City”) is a

municipality in Dane County, Wisconsin.

       RESPONSE:

       REQUEST NO. 5:         Admit that the City is a “government” under RLUIPA, 42 U.S.C.

§ 2000cc-5(4)(A).

       RESPONSE:

       REQUEST NO. 6:         Admit that the City is responsible for its ordinances as well as the

acts, omissions, and interpretations of its zoning administrator, agents, boards, commissions, and

councils.

       RESPONSE:

       REQUEST NO. 7:         Admit that all claims raised by Edgewood are timely and in

compliance with tolling agreements executed between the City and Edgewood.



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          RESPONSE:

          REQUEST NO. 8:        Admit that for nearly a hundred years, Edgewood has lawfully and

openly used its track and field to host athletic contests and other activities.

          RESPONSE:

          REQUEST NO. 9:        Admit that Edgewood hosted multiple football games and soccer

games on the improved athletic field during the 2018-19 academic year.

          RESPONSE:

          REQUEST NO. 10: Admit that lacrosse matches have been regular events on

Edgewood’s field since 2015.

          RESPONSE:

          REQUEST NO. 11: Admit that since 1999, Edgewood has hosted numerous track

meets (including parochial meets and meets for youth on the West Side of the City) on its field.

          RESPONSE:

          REQUEST NO. 12: Admit that a 2015 renovation of Edgewood’s field included

installation of a new scoreboard

          RESPONSE:

          REQUEST NO. 13: Admit that scoreboards are used for tracking scores and game-

related information during athletic contests.

          RESPONSE:

          REQUEST NO. 14: Admit that electrical permits were applied for and granted as part

of the 2015 field renovation.

          RESPONSE:

          REQUEST NO. 15: Admit that the Goodman Athletic Complex is Edgewood’s only

field.



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       RESPONSE:

       REQUEST NO. 16: Admit that Edgewood describes its mission as one educating “the

whole student for a life of learning, service, personal responsibility through a rigorous academic

curriculum that embraces the Sinsinawa Dominican values of Truth, Compassion, Justice,

Partnership and Community.”

       RESPONSE:

       REQUEST NO. 17: Admit that Edgewood’s educational mission is in furtherance of

the sincerely held religious beliefs of the Dominican Sisters of Sinsinawa and of Edgewood.

       RESPONSE:

       REQUEST NO. 18: Admit that athletics is a primary way in which Edgewood

accomplishes its Catholic mission to educate the whole student, teach personal responsibility,

and instill and promote the Sinsinawa Dominican values.

       RESPONSE:

       REQUEST NO. 19: Admit that Edgewood’s role for athletics at its school reflects and

furthers the Catholic Church’s views and teachings on the importance of athletics in modern

society.

       RESPONSE:

       REQUEST NO. 20: Admit that athletics is a primary way some Edgewood students

connect with each other.

       RESPONSE:

       REQUEST NO. 21: Admit that athletics is a primary way some Edgewood students

experience the Dominican value of community.

       RESPONSE:




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        REQUEST NO. 22: Admit that athletics is a primary way some Edgewood students

experience the Catholic values of honesty, respect, sacrifice, and humility.

        RESPONSE:

        REQUEST NO. 23: Admit that enrollment is critical to Edgewood’s religious mission.

        RESPONSE:

        REQUEST NO. 24: Admit that modern culture places a priority on sports.

        RESPONSE:

        REQUEST NO. 25: Admit that athletic offerings and opportunities are critical

components of Edgewood’s ability to attract new students.

        RESPONSE:

        REQUEST NO. 26: Admit that the facilities Edgewood has to offer prospective

students, including athletic facilities and its track and field, are a significant factor in its ability to

attract and retain students in furtherance of its mission.

        RESPONSE:

        REQUEST NO. 27: Admit that quality facilities are an important factor in prospective

students’ and parents’ decision-making process in selecting a school.

        RESPONSE:

        REQUEST NO. 28: Admit that Edgewood’s athletics program is important for

Edgewood’s ability to reach and attract students from underserved communities.

        RESPONSE:

        REQUEST NO. 29: Admit that the absence of an on-campus field with lighting hurts

Edgewood in a competitive education market.

        RESPONSE:




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        REQUEST NO. 30: Admit that the absence of an on-campus field with lighting puts

Edgewood at a competitive disadvantage relative to other schools.

        RESPONSE:

        REQUEST NO. 31: Admit that the absence of an on-campus field with lighting burdens

its religious mission to reach as many students as possible with its teachings and values.

        RESPONSE:

        REQUEST NO. 32: Admit that Edgewood’s field can also be used for community

outreach, evangelism, fellowship, assembly, prayer and liturgical worship.

        RESPONSE:

        REQUEST NO. 33: Admit that without lighting for its field Edgewood is effectively

restricted from all activities after daylight hours.

        RESPONSE:

        REQUEST NO. 34: Admit that the City adopted its current Zoning Code on October

26, 2011, with an effective date of January 2, 2013.

        RESPONSE:

        REQUEST NO. 35: Admit that prior to 2013, the City zoned Edgewood as a residential

district.

        RESPONSE:

        REQUEST NO. 36: Admit that as of January 2, 2013, as part of the mapping of the new

Zoning Code, the City zoned Edgewood as a Campus-Institutional District under Section 28.097,

which remains its zoning classification today.

        RESPONSE:

        REQUEST NO. 37: Admit that the City also rezoned all of the following institutions

into Campus-Institutional Districts: the University of Wisconsin-Madison, Madison Area



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Technical College, the Madison Metropolitan School District (which includes James Madison

Memorial High School, Madison East High School, Madison West High School, and Madison La

Follette High School) and Mendota Mental Health Campus.

       RESPONSE:

       REQUEST NO. 38: Admit that the list of permitted “secondary uses” for Campus-

Institutional Districts included “indoor and outdoor sports and recreational facilities”; “places of

worship”; “stadiums, auditoriums, and arenas, open or enclosed”; and “other uses related to the

institution’s primary mission.”

       RESPONSE:

       REQUEST NO. 39: Admit that the ordinances allowed schools in Campus-Institutional

Districts to use their property, by right and without seeking a permit or other approval, as outdoor

sports and recreational facilities, outdoor stadiums, outdoor arenas, and for other uses related to

the institution’s primary mission.

       RESPONSE:

       REQUEST NO. 40: Admit that at all relevant times, Edgewood is and was entitled to

use its athletic field for athletic contests as well as any other uses related to the school’s primary

mission as secondary uses and as a matter of law under Madison’s Zoning Code.

       RESPONSE:

       REQUEST NO. 41: Admit that master plans govern the development of buildings.

       RESPONSE:

       REQUEST NO. 42: Admit that master plans do not govern an institution’s existing or

future uses of or activities on the property.

       RESPONSE:




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        REQUEST NO. 43: Admit that master plans do not govern or regulate placement of

light poles on property.

        RESPONSE:

        REQUEST NO. 44: Admit that of the City’s Campus-Institutional Districts, only

Edgewood and the University of Wisconsin-Madison adopted a master plan.

        RESPONSE:

        REQUEST NO. 45: Admit that none of the City’s four public high schools have

submitted a master plan for approval.

        RESPONSE:

        REQUEST NO. 46: Admit that in January 2014, Edgewood voluntarily submitted its

Master Plan to the City.

        RESPONSE:

        REQUEST NO. 47: Admit that listing all activities performed on Edgewood’s athletic

field was not a prerequisite for those activities to continue to be allowed during the term of the

Master Plan.

        RESPONSE:

        REQUEST NO. 48: Admit that Edgewood’s approved Master Plan referenced the new,

rebuilt track and athletic field.

        RESPONSE:

        REQUEST NO. 49: Admit that Defendant Tucker advised Edgewood that he had

become “aware of the extensive use of the [Edgewood] athletic field” after he attended an

October 17, 2018 “neighborhood meeting.”

        RESPONSE:




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        REQUEST NO. 50: Admit that the attached Exhibit A is a true and correct copy of an

email from Zoning Administrator Tucker, dated Oct. 26, 2018.

        RESPONSE:

        REQUEST NO. 51: Admit that Defendant Tucker notified Edgewood that he believed

its use of its athletic field for “athletic contests” was “outside of the allowances” under

Edgewood’s Master Plan.

        RESPONSE:

        REQUEST NO. 52: Admit that according to Defendant Tucker Edgewood could only

use its field for “team practices and physical education classes.”

        RESPONSE:

        REQUEST NO. 53: Admit that neither Defendant Tucker nor the City has ever defined

“athletic contests.”

        RESPONSE:

        REQUEST NO. 54: Admit the City has never taken the position that a Madison public

high school is restricted in its ability to host an athletic contest on one of its fields.

        RESPONSE:

        REQUEST NO. 55: Admit that according to Defendant Tucker’s interpretation and

application of the City’s land use regulations, Edgewood was also prohibited from using its field

for such uses as an outdoor Mass or prayer service, a graduation ceremony, and community

outreach events (such as the long-running Monroe Street Farmer’s Market).

        RESPONSE:

        REQUEST NO. 56: Admit that the City’s Zoning Code does not identify whether

indoor or outdoor sports and recreation facilities, stadiums, auditoriums, or arenas may be used

to host team practices, physical education classes, or athletic contests.



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        RESPONSE:

        REQUEST NO. 57: Admit that the City’s Zoning Code has never distinguished

between uses during day or night.

        RESPONSE:

        REQUEST NO. 58: Admit that Defendant Tucker identified any “programming”

outside of “team practices and physical education classes” to be prohibited on Edgewood’s

athletic field.

        RESPONSE:

        REQUEST NO. 59: Admit that based on Defendant Tucker’s interpretation of

Edgewood’s Master Plan, the City took enforcement action against Edgewood.

        RESPONSE:

        REQUEST NO. 60: Admit that a City inspector was assigned to surveil Edgewood’s

girls’ soccer games.

        RESPONSE:

        REQUEST NO. 61: Admit that Exhibit B hereto is a true and correct copy of an

“Official Notice” against Edgewood dated April 1, 2019

        RESPONSE:

        REQUEST NO. 62: Admit that Exhibit C hereto is a true and correct copy of a second

“Official Notice” against Edgewood dated May 15, 2019.

        RESPONSE:

        REQUEST NO. 63: Admit that pursuant to M.G.O. § 28.207 (Penalties), Edgewood

was subject to a fine of up to $1,000 for each violation in the Official Notices received.

        RESPONSE:




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        REQUEST NO. 64: Admit that none of the other schools zoned as a Campus-

Institutional District, with or without a master plan, have received a zoning violation or were

otherwise alleged to be in violation of the City’s Zoning Code for hosting an athletic contest on

their athletic fields.

        RESPONSE:

        REQUEST NO. 65: Admit that Edgewood is the only Madison high school to have

ever received a zoning code violation for playing a game on its property.

        RESPONSE:

        REQUEST NO. 66: Admit that the University of Wisconsin (“UW”) submitted a

Master Plan under the Campus Institutional District Ordinances in 2017.

        RESPONSE:

        REQUEST NO. 67: Admit that the City approved the University of Wisconsin’s Master

Plan in 2017.

        RESPONSE:

        REQUEST NO. 68: Admit that the UW has numerous facilities and open spaces

dedicated to recreation, athletics, and athletic contests.

        RESPONSE:

        REQUEST NO. 69: Admit that the UW Master Plan does not state that Nielsen

Stadium is to be used for tennis competitions, tennis practices, or tennis summer camps.

        RESPONSE:

        REQUEST NO. 70: Admit that the UW has used the Nielsen Stadium for tennis

competitions, tennis practices or tennis summer camps both before and after the effective date of

the UW Master Plan.

        RESPONSE:



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         REQUEST NO. 71: Admit that the UW Master Plan does not state that the Natatorium

is to be used for swimming, diving, or weight lifting competitions.

         RESPONSE:

         REQUEST NO. 72: Admit that the Natatorium has been used for swimming, diving

and weight lifting competitions both before and after the effective date of the UW Master Plan.

         RESPONSE:

         REQUEST NO. 73: Admit that the UW Master Plan does not state that Goodman

Softball Complex is to be used for softball games.

         RESPONSE:

         REQUEST NO. 74: Admit that the Goodman Softball Complex, has been used for

softball games both before and after the effective date of the UW Master Plan.

         RESPONSE:

         REQUEST NO. 75: Admit that the Master Plan does not state that the McClimon Track

Facility is to be used for track & field meets or team practices.

         RESPONSE:

         REQUEST NO. 76: Admit that the McClimon Track Facility has been used for track

and field meets and team practices both before and after the effective date of the UW Master

Plan.

         RESPONSE:

         REQUEST NO. 77: Admit that the UW Master Plan does not identify or describe the

University Bay Fields.

         RESPONSE:

         REQUEST NO. 78: Admit that the UW Master Plan does not identify or describe the

Cole Recreation Area.



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          RESPONSE:

          REQUEST NO. 79: Admit that the University Bay Fields and the Cole Recreation Area

both host athletic contests.

          RESPONSE:

          REQUEST NO. 80: Admit that neither Defendant Tucker nor the City has never

contacted the UW to inform it that the uses of any of its athletic fields or facilities are “outside of

the allowances” of its Master Plan.

          RESPONSE:

          REQUEST NO. 81: Admit that neither Defendant Tucker nor the City has ever

interpreted and applied the City’s land use regulations to limit UW facilities to be used

exclusively for the uses specified in its Master Plan.

          RESPONSE:

          REQUEST NO. 82: Admit that a City inspector has never been tasked with surveilling

the activities at UW’s facilities to assess whether they comply with the uses described in the

UW’s Master Plan.

          RESPONSE:

          REQUEST NO. 83: Admit that the City has never issued any Official Notices or

violations to the UW in relation to uses of its facilities not complying with the uses described in

its Master Plan.

          RESPONSE:

          REQUEST NO. 84: Admit that the reference to the Nielsen Outdoor Tennis Court

Expansion in the UW’s Master Plan does not disclose the University’s plan to construct outdoor

lights.

          RESPONSE:



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        REQUEST NO. 85: Admit that as part of the Nielsen Outdoor Tennis Court Expansion,

the UW constructed outdoor lights.

        RESPONSE:

        REQUEST NO. 86: Admit that the UW’s Master Plan did not disclose the location or

height of any of the light poles for the Nielsen Outdoor Tennis Court Expansion.

        RESPONSE:

        REQUEST NO. 87: Admit that the City approved the University of Wisconsin’s site

plan review application for the Nielsen Outdoor Tennis Court Expansion project without any

requirement that the UW amend its Master Plan.

        RESPONSE:

        REQUEST NO. 88: Admit that the Nielsen Outdoor Tennis Court facility since its

completion has hosted athletic contests under outdoor lights.

        RESPONSE:

        REQUEST NO. 89: Admit that on February 22, 2019, Edgewood submitted to the City

an application for outdoor lighting only for its athletic field.

        RESPONSE:

        REQUEST NO. 90: Admit that the City reviewed Edgewood’s February 22, 2019

application for compliance with zoning and lighting ordinances.

        RESPONSE:

        REQUEST NO. 91: Admit that Edgewood’s February 22, 2019 lighting permit

application met all objective criteria in the City’s outdoor lighting ordinance under M.G.O. §

10.085 et seq.

        RESPONSE:




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       REQUEST NO. 92: Admit that Exhibit D hereto is a true and correct copy of the City

Lighting Permit for Madison Memorial High School.

       RESPONSE:

       REQUEST NO. 93: Admit that the lighting application filed by Edgewood in 2019 was

in all respects similar to the 2018 lighting applications filed by Madison Memorial High School.

       RESPONSE:

       REQUEST NO. 94: Admit the 2018 lighting application by Madison Memorial High

School was approved by the City within 14 days of the application.

       RESPONSE:

       REQUEST NO. 95: Admit that on February 27, 2019 and March 1, 2019, the City’s

Building Inspection Division reviewed and approved Edgewood’s February 22, 2019 lighting

application.

       RESPONSE:

       REQUEST NO. 96: Admit that Exhibit E hereto is a true and correct copy of the City

of Madison Site Plan Verification for Edgewood’s lighting application.

       RESPONSE:

       REQUEST NO. 97: Admit that after the Building Inspection Division’s approval, the

City withheld the lighting permits.

       RESPONSE:

       REQUEST NO. 98: Admit that the City withheld the permits claiming that the lights

could be used for hosting “athletic contests” on Edgewood’s athletic field.

       RESPONSE:




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         REQUEST NO. 99: Admit that the City withheld the lighting permits claiming that

allowing Edgewood to install the lights would violate Edgewood’s Master Plan because the

Master Plan did not specifically identify lighting for the field.

         RESPONSE:

         REQUEST NO. 100: Admit that the Master Plan ordinance provisions do not override

the City’s Outdoor Lighting Ordinance for building projects, whether included or not in a Master

Plan.

         RESPONSE:

         REQUEST NO. 101: Admit that the Master Plan ordinance provisions do not preclude

applications for outdoor lights to facilitate already-permitted uses.

         RESPONSE:

         REQUEST NO. 102: Admit that with respect to Edgewood’s athletic field, light poles

are ancillary structures to an already permitted use.

         RESPONSE:

         REQUEST NO. 103: Admit that the Defendant City of Madison Zoning Board of

Appeals voted to uphold the City’s citations to Edgewood for using its field to host girls’ soccer

and track competitions.

         RESPONSE:

         REQUEST NO. 104: Admit that Exhibit F hereto is a true and correct copy of a July 12,

2019 letter from then-City Attorney Michael May.

         RESPONSE:

         REQUEST NO. 105: Admit that City Attorney May stated: “We invite Edgewood to file

to terminate its Master Plan and return to the standard CI zoning, which would place it on equal

footing with other high schools.”



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        RESPONSE:

        REQUEST NO. 106: Admit Exhibit G hereto is a true and correct copy of an email from

then-Assistant Attorney John Strange dated July 17, 2019.

        RESPONSE:

        REQUEST NO. 107: Admit that then-Assistant City Attorney John Strange outlined to

Edgewood’s counsel three options by which Edgewood could “legally play games and install

lights at its field.”

        RESPONSE:

        REQUEST NO. 108: Admit that at the time of then-Assistant City Attorney John

Strange’s communication “[a]s a consequence of repealing its Master Plan, Edgewood would

revert to the standard regulations of the CI District in the zoning code, which would allow games

and lights at the field.”

        RESPONSE:

        REQUEST NO. 109: Admit that on July 29, 2019, Edgewood applied to repeal its

Master Plan.

        RESPONSE:

        REQUEST NO. 110: Admit that Edgewood’s application to repeal its Master Plan was

fully compliant with the City’s ordinances.

        RESPONSE:

        REQUEST NO. 111: Admit that Edgewood’s application to repeal its Master Plan was

eventually approved by the City of Madison Common Council without changes.

        RESPONSE:

        REQUEST NO. 112: Admit that on August 26, 2019, the Defendant City Plan

Commission voted to delay a vote on approval of Edgewood’s Master Plan repeal.



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       RESPONSE:

       REQUEST NO. 113: Admit that the purpose of this delay was to permit Madison Alder

Tag Evers to present the City of Madison Common Council with a proposed change to the

ordinances that would govern Edgewood’s lighting applications.

       RESPONSE:

       REQUEST NO. 114: Admit prior to the Evers proposal, outdoor lighting applications for

Campus-Institutional Districts were reviewed under the objective, administrative approval

process under Chapter 10 for Outdoor Lighting.

       RESPONSE:

       REQUEST NO. 115: Admit that Madison Memorial’s 2018 outdoor lighting applications

were reviewed under the objective, administrative approval process under Chapter 10 for

Outdoor Lighting.

       RESPONSE:

       REQUEST NO. 116: Admit that the UW’s outdoor lighting applications for its Nielsen

Outdoor Tennis Courts were reviewed under the objective, administrative approval process under

Chapter 10 for Outdoor Lighting.

       RESPONSE:

       REQUEST NO. 117: Admit that under the Evers proposal, Edgewood’s outdoor lighting

application would no longer be reviewed under the objective, administrative approval process

under Chapter 10 for Outdoor Lighting.

       RESPONSE:

       REQUEST NO. 118: Admit that the Evers proposal upon adoption made it so that

Edgewood, upon repeal of its Master Plan, would not “revert to the standard regulations of the CI




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District in the zoning code, which would allow games and lights at the field,” as previously

represented by then-Assistant City Attorney John Strange.

       RESPONSE:

       REQUEST NO. 119: Admit that under the Evers proposal a modification of a primary or

secondary use by a Campus-Institutional District, if outdoors, would require a conditional use

permit. M.G.O. § 28.097(2)(d) (Am. by ORD-19-00069, 10-10-19).

       RESPONSE:

       REQUEST NO. 120: Admit that lighting applications granted previously to public

institutions zoned as Campus-Institutional that had been granted under the prior, less restrictive

administrative process were “grandfathered in” and not subject to the Evers proposal.

       RESPONSE:

       REQUEST NO. 121: Admit that Evers sought to have approval of his amended

ordinance occur before approval of the repeal of Edgewood’s Master Plan.

       RESPONSE:

       REQUEST NO. 122: Admit that Evers sought to ensure that the new ordinance would be

applied to Edgewood upon the repeal of its Master Plan.

       RESPONSE:

       REQUEST NO. 123: Admit that Evers sought to subject Edgewood’s post-Master Plan

repeal lighting applications to a more difficult standard than the standard used for prior Campus-

Institutional District outdoor lighting applicants.

       RESPONSE:

       REQUEST NO. 124: Admit that at a public hearing on August 26, 2019 Evers stated:

“Public institutions have a built in incentive to pay attention to the public because they are

dependent on public support, private institutions must be careful not to be seen as being willing



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to impose their will on their neighbors because to do so tears at the fabric of civil society and

undermines our shared values of commitment to community and partnership.”

       RESPONSE:

       REQUEST NO. 125: Admit that the City voted to consider Evers’s ordinance ahead of

the Master Plan repeal.

       RESPONSE:

       REQUEST NO. 126: Admit that the City shared Evers’s goal to subject Edgewood’s

post-Master Plan repeal lighting applications to a more difficult standard than the standard used

for prior Campus Institutional District outdoor lighting applicants.

       RESPONSE:

       REQUEST NO. 127: Admit that outdoor lighting applications for non-Campus-

Institutional Districts are still reviewed under the objective, administrative approval process

under Chapter 10 for Outdoor Lighting.

       RESPONSE:

       REQUEST NO. 128: Admit that but for Evers’s ordinance, Edgewood’s post-Master

Plan repeal lighting applications would have been approved under the objective, administrative

approval process under Chapter 10 for Outdoor Lighting.

       RESPONSE:

       REQUEST NO. 129: Admit that Ald. Shiva Bidar, 5th District, said the reason for the

delay to Edgewood’s Master Plan repeal vote was to allow another proposal to get through the

City of Madison Plan Commission and City of Madison Common Council first.

       RESPONSE:

       REQUEST NO. 130: Admit that the proposal Ald. Bidar referenced was the Evers

proposal to change the process by which Edgewood’s lighting application was reviewed.



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       RESPONSE:

       REQUEST NO. 131: Admit that Exhibit H hereto is a true and correct copy of a

September 20, 2019 letter confirming an application for outdoor lights by Edgewood.

       RESPONSE:

       REQUEST NO. 132: Admit that on September 30, 2019 Edgewood submitted a new

light application under the then-existing administrative approval process under Chapter 10 and

prior to Evers’s amended ordinance being approved.

       RESPONSE:

       REQUEST NO. 133: Admit that Defendant Tucker and the City took no action on

Edgewood’s September 30, 2019 light application.

       RESPONSE:

       REQUEST NO. 134: Admit that Defendant Tucker flagged Edgewood’s September 30,

2019 lighting application as “reject / redraft” while noting the application’s supposed non-

compliance with Edgewood’s Master Plan.

       RESPONSE:

       REQUEST NO. 135: Admit that Defendant Tucker and City provided no notice to

Edgewood or opportunity to cure any defects in the September 30, 2019 lighting application.

       RESPONSE:

       REQUEST NO. 136: Admit that Evers’s amended ordinance, ORD-19-00069, passed on

October 1, 2019.

       RESPONSE:

       REQUEST NO. 137: Admit that Evers’s ordinance enacted a new conditional use permit

process for outdoor lighting by Campus-Institutional District applicants like Edgewood.

       RESPONSE:



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       REQUEST NO. 138: Admit that Edgewood became the first and only conditional use

applicant for outdoor lighting in the City’s history.

       RESPONSE:

       REQUEST NO. 139: Admit that Exhibit I hereto is a true and correct copy of a Staff

Recommendation dated May 11, 2020.

       RESPONSE:

       REQUEST NO. 140: Admit that Edgewood submitted a conditional use application for

outdoor lighting under Evers amended ordinance on March 11, 2020.

       RESPONSE:

       REQUEST NO. 141: Admit that on May 11, 2020 the City of Madison’s Planning

Division staff issued a report finding that installation of Edgewood’s lights would meet the

requirements of M.G.O. § 28.183(6), with conditions.

       RESPONSE:

       REQUEST NO. 142: Admit that the City of Madison’s Planning Division staff

recommended to the Defendant City of Madison Plan Commission that Edgewood’s conditional

use application be granted, subject to those conditions.

       RESPONSE:

       REQUEST NO. 143: Admit that Edgewood agreed to comply with the conditions

recommended in the May 11, 2020 Staff Recommendation.

       RESPONSE:

       REQUEST NO. 144: Admit that the staff’s recommended conditions in their May 11,

2020 Staff Recommendation are more restrictive than what other Madison high schools, UW or

Madison College are allowed to do on their fields.

       RESPONSE:



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       REQUEST NO. 145: Admit that the UW and Madison College rent their fields for

commercial gain.

       RESPONSE:

       REQUEST NO. 146: Admit that the City has approved outdoor lighting for City-owned

recreational and athletic areas that it leases to the City’s public high schools.

       RESPONSE:

       REQUEST NO. 147: Admit that the Plan Commission ignored the Staff

Recommendation.

       RESPONSE:

       REQUEST NO. 148: Admit that the City of Madison Plan Commission denied

Edgewood’s conditional use permit for outdoor lighting.

       RESPONSE:

       REQUEST NO. 149: Admit that Exhibit J hereto is a true and correct copy of the

minutes from the City of Madison Plan Commission meeting in which Edgewood’s conditional

use permit was denied.

       RESPONSE:

       REQUEST NO. 150: Admit that the City of Madison Plan Commission failed to identify

any substantial evidence supporting its denial.

       RESPONSE:

       REQUEST NO. 151: Admit that requested lighting complied with City’s objective

standards for outdoor lighting.

       RESPONSE:

       REQUEST NO. 152: Admit that Edgewood’s conditional use permit application

involved no new uses being approved.



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          RESPONSE:

          REQUEST NO. 153: Admit that all existing permitted uses for Edgewood’s field

complied with the City’s noise ordinances.

          RESPONSE:

          REQUEST NO. 154: Admit that comparable facilities near or adjacent to neighborhoods

have similar outdoor lighting (with amplified sound) with no discernible negative impact on

neighboring residents.

          RESPONSE:

          REQUEST NO. 155: Admit that Olbrich Park, Warner Park and Duane F. Bowman Park

are city parks adjacent to residentially zoned neighborhoods leased to high schools for athletic

events without restriction on light or sound.

          RESPONSE:

          REQUEST NO. 156: Admit that Vilas Park, Westmoreland Park and Reynolds Park have

similar outdoor lighting and amplified sound with no discernible negative impact on neighboring

residents.

          RESPONSE:

          REQUEST NO. 157: Admit that on January 20, 2021, the City of Madison Common

Council voted to uphold the City of Madison Plan Commission’s denial of the conditional use

permit.

          RESPONSE:

          REQUEST NO. 158: Admit that the City of Madison Common Council cited no

“substantial evidence” in affirming and upholding the denial of Edgewood’s conditional use

permit.

          RESPONSE:



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       REQUEST NO. 159: Admit that Edgewood submitted to the City an application for

outdoor lighting only for its athletic field on or about February 22, 2019.

       RESPONSE:

       REQUEST NO. 160: Admit that at the time Edgewood submitted its lighting application

in February 2019, Edgewood could use its field for team practices.

       RESPONSE:

       REQUEST NO. 161: Admit that at the time Edgewood submitted its lighting application

in February 2019, Edgewood had a right to use its field for team practices after daylight hours.

       RESPONSE:

       REQUEST NO. 162: Admit that at the time Edgewood submitted its lighting application

in February 2019, the City could have approved Edgewood’s lighting application to allow

Edgewood to use its field for team practices after daylight hours.

       RESPONSE:

       REQUEST NO. 163: Admit that Edgewood submitted to the City a new application for

outdoor lighting only for its athletic field on or about September 20, 2019.

       RESPONSE:

       REQUEST NO. 164: Admit that at the time Edgewood submitted its lighting application

in September 2019, Edgewood could use its field for team practices.

       RESPONSE:

       REQUEST NO. 165: Admit that at the time Edgewood submitted its lighting application

in September 2019, Edgewood had a right to use its field for team practices after daylight hours.

       RESPONSE:




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       REQUEST NO. 166: Admit that at the time Edgewood submitted its lighting application

in September 2019, the City could have approved Edgewood’s lighting application to allow

Edgewood to use its field for team practices after daylight hours.

       RESPONSE:

       REQUEST NO. 167: Admit that other than Edgewood’s February 22, 2019 lighting

application, the City has never before or after denied an outdoor lighting application based on the

use for which the lights were being sought.

       RESPONSE:

       REQUEST NO. 168: Admit that the City did not issue a written notice of denial for

Edgewood’s February 2019 lighting application or Edgewood’s September 2019 lighting

application.

       RESPONSE:



Dated this 2nd day of November, 2021



                                                         Respectfully Submitted,

                                                         GODFREY & KAHN, S.C.

                                                         s/Paul Covaleski _______
                                                         Mike Wittenwyler (SBN 1025895)
                                                         Jonathan Ingrisano (SBN 1033977)
                                                         Paul Covaleski (SBN 1117236)
                                                         One East Main Street, Suite 500
                                                         P.O. Box 2719
                                                         Madison, WI 53701
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                                                         pcovaleski@gklaw.com



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                                               Attorneys for Plaintiff


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Nathan J. Wautier

From:                          Strange, John <JStrange@cityofmadison.com>
Sent:                          Wednesday, July 17, 2019 4:24 PM
To:                            Nathan J. Wautier
Cc:                            May, Michael; Tucker, Matthew
Subject:                       Edgewood High School



Attorney Wautier,

Given the Zoning Board of Appeals ruling on July 11, you asked me to describe the legal avenues for permitting
games and lights under the CI District Ordinance. Under the CI District Ordinance, Edgewood has three options
to legally play games and install lights at its field. First, Edgewood can amend its Campus Master Plan to
describe the open space as a stadium with lights. If approved, this would allow Edgewood to play games at its
field and have lights. Second, Edgewood could ask the City to repeal the ordinance that adopted its Master
plan. As a consequence of repealing its Master Plan, Edgewood would revert to the standard regulations of
the CI District in the zoning code, which would allow games and lights at the field. However, repealing the
Master Plan means, among other things, that Edgewood will lose the remaining development entitlements
contained in the Campus Master Plan. Going forward, individual development proposals and changes that
exceed four thousand (4,000) square feet in floor area, including the construction of bathrooms, concessions
stands or locker rooms associated with the athletic field, would require conditional use approval, to which the
City could attach conditions related to the use of the entire facility. Finally, a third option would be for
Edgewood wait until the 10Ͳyear Master Plan expires, in which case Edgewood would have the same rights as
described under the second option above (terminating the Master Plan).

If Edgewood wishes to terminate its Master Plan, it must complete a land use application similar to the one it
completed to have the Master Plan approved in 2014. Since the Master Plan applies to the high school,
college, and day school, the person who signs the application on behalf of Edgewood must be authorized by all
three entities to pursue the termination of the Master Plan. By way of reference, the following link includes
the original land use application Edgewood filed to approve the Master Plan in 2014.
https://madison.legistar.com/View.ashx?M=F&ID=2947602&GUID=0E09F8F2Ͳ1CFAͲ42BAͲAB3FͲ
E820C7292CFB

Please let me know if you have any other questions.

Sincerely,

John Strange


John W. Strange
Assistant City Attorney
Madison, Wisconsin
608Ͳ266Ͳ4511


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created by a condominium plat of the 56.3-acre campus in 2011; the condominium declaration provides the
governance structure for the operation of the overall property.

Surrounding Land Use and Zoning: The overall Edgewood Campus is surrounded by single-family residences in
the Dudgeon-Monroe and Vilas neighborhoods located across Woodrow Street, Monroe Street, and Edgewood
Avenue from the campus in the TR-C2 and TR-C3 (Traditional Residential–Consistent) zoning districts.

Adopted Land Use Plans: The 2018 Comprehensive Plan identifies the Edgewood Campus in the Special
Institutional district. The residential neighborhoods that surround the campus are recommended for Low
Residential uses, while Edgewood Drive and the Lake Wingra shoreline are recommended for Parks and Open
Space uses.

Zoning Summary: The property is zoned CI (Campus-Institutional District).
   Other Critical Zoning Items
   Yes:   Landmarks (Indian mounds on campus), Utility Easements, Waterfront Development (along southern edge)
   No:     Wellhead Protection, Barrier Free, Urban Design, Floodplain
                                                                             Prepared by: Planning and Zoning staff

Environmental Corridor Status: The portion of the Edgewood campus located southeast of Edgewood Drive is
located in a mapped environmental corridor, with areas of woodlands, wetlands and floodplain noted both within
the corridor and immediately adjacent. The rest of the campus to the northwest, including the athletic field, is not
located in a mapped environmental corridor.

Public Utilities and Services: The site is served by a full range of urban services, including seven-day Metro Transit
service on Monroe Street.

Previous Approvals and Requests
On April 8, 2014, the Common Council approved a request to approve a Campus-Institutional (CI) District Master
Plan for Edgewood College, Edgewood High School and Edgewood Campus School as an integral part of the Zoning
Code to govern the land use and provide basic bulk parameters for new construction on the campus.

On November 14, 2018, Edgewood High School submitted a request to amend the Campus-Institutional (CI) Zoning
District Master Plan for the combined Edgewood College, Edgewood Campus School and Edgewood High School
campus approved in 2014 to allow expanded use of the high school athletic field and to allow future construction
of an enlarged and more substantial stadium for the athletic field. The request to amend the campus master plan
was referred indefinitely at the request of Edgewood by the Common Council on February 26, 2019.

On October 1, 2019 the Common Council adopted the Third Substitute for Ordinance 19-00069 (ID 56981),
amending various provisions in the CI zoning district to more clearly delineates the difference between indoor and
outdoor uses and clarify that the construction of a new building or additions to existing buildings that exceed
4,000 square feet in floor area within any five-year period in a CI district without an adopted master plan require
conditional use approval. The amendment also established that primary and secondary uses occurring outside of
enclosed buildings on a CI-zoned parcel without an adopted master plan require conditional use approval,
including outdoor sports and recreational facilities, surface parking, utilities and transportation facilities, and open
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stadiums and arenas. Finally, the amendment clarified that in the CI-District all secondary uses must be utilized
predominantly in a manner that is directly related and complementary to the institution’s primary uses.

On January 7, 2020, the Common Council repealed the CI District Master Plan for Edgewood College, Edgewood
High School and Edgewood Campus School based on a July 29, 2019 request by those institutions.

Project Description
Edgewood High School is requesting approval of a conditional use to install lights for the Goodman Athletic
Complex located in the northwestern corner of the overall Edgewood campus adjacent to the corner of Monroe
and Woodrow Streets.

The current athletic facility includes an artificial turf field surface designed for use as a regulation competition
soccer, football, and lacrosse field, and a paved running track that encircles the field. Woodrow Street abuts the
field to the west, with road grade above the field starting at Monroe Street, and dropping below field elevation
moving southward. A 450-seat metal bleacher is located on the east side of the field and track. The athletic
complex is currently not lighted for competition, and there is no permanent/fixed public address (PA) system,
although a portable PA system is occasionally used.

The conditional use request seeks to erect poles at the four corners of the complex to be outfitted with LED light
fixtures. The pole locations are shown on the submitted plans as “F1,” “F2,” “F3,” and “F4.” The submittal proposes
that the poles be either 68 feet or 80 feet in height (based on the grade of the field), and the application materials
include photometric and glare studies for both height alternatives intended to demonstrate the impacts of lighting
the field, track, bleachers, and environs of the athletic complex (“blanket grid”). The photometric studies include
the maximum lighting levels proposed for football, soccer, and track uses, and specifically include proposed
footcandle measurements at the Edgewood property lines adjacent to the Monroe Street and Woodrow Street
rights of way. The anticipated glare impacts are measured in candelas on the heat maps included for each
proposed pole height alternative. For clarity purposes, the first ten pages of the plan set regard the 68-foot tall
pole alternative, with the remaining ten pages addressing the 80-foot alternative. The applicant indicates that the
80-foot tall poles will light the field more effectively, but that the 68-foot tall poles will be less visually intrusive.
Lighting plans for the stadium have previously been reviewed and approved by Building Inspection Division Plan
Review staff relative to MG0 Section 10.085, and it is expected that final plans will also meet this requirement.

No other improvements to the athletic complex or Edgewood Campus are proposed with this conditional use
request. There is an extensive landscaped buffer consisting of both coniferous and deciduous trees located
between the western edge of the athletic complex’s track and the eastern curb line of the street, which continues
around the corner at Monroe Street. No changes to the existing landscaping buffer are proposed at this time.

The letter of intent included with the conditional use request outlines the intended use of the proposed lights.
The applicant indicates that the lights will shut-off automatically at 10:00 PM, Sunday–Thursday, and at 11:00 PM
on Friday and Saturday, although the lights may be kept on beyond those times to “accommodate specially
scheduled activities including, but not limited to, playoff games, games requiring overtime periods, weather
delays, and health and safety delays.” The letter also indicates that the lights facing Woodrow Street, F1 and F2,
may be turned off sooner after an event is completed while the lights facing eastward into the campus, F3 and F4,
may remain on while attendees and participants exit the athletic complex.
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Analysis
Section 28.097(3) of the Zoning Code identifies educational uses associated with colleges, universities, and
secondary and primary schools as a primary use in the Campus-Institutional (CI) zoning district. Stadiums,
auditoriums, and arenas, open or enclosed, are identified as secondary uses in the CI district. The Zoning Code
specifies that all secondary uses must be utilized predominantly in a manner that is directly related and complementary
to the CI district’s primary uses. Section 28.097(2)(d) requires that in a CI district without a Campus Master Plan,
the establishment, improvement, or modification of any primary or secondary use occurring outside of an
enclosed building shall require conditional use approval. Staff has determined that the proposal to install lighting
for the open-air stadium represents the improvement of an allowed secondary use occurring outside an enclosed
building, which requires conditional use approval prior to issuance of any permits necessary to install the poles
and fixtures.

However, while the installation of the poles and fixtures to light the Goodman Athletic Complex for evening
activities requires conditional use approval, the use of the stadium is not otherwise before the Plan Commission
for consideration. The unlighted (daytime) use of the athletic field for athletic competitions, school events, and
practices is allowed by right as a secondary use complementary to the Edgewood High School primary use. Staff
does not believe that the unlighted use of the stadium may otherwise be regulated by the Plan Commission
through its consideration of the request to install lights.

Furthermore, the actual lights themselves are governed by the City’s lighting ordinance in MGO Section 10.085,
and no permits for the lights may be issued unless they comply with the requirements of that section. While the
Plan Commission is asked whether lights should be allowed for the Goodman complex, staff does not advise that
the Plan Commission apply conditions that may be contrary to Section 10.085. In addition to potentially
contradicting MGO, enforcement of those conditions through zoning approvals may be difficult from a practical
standpoint.

The Zoning Code states that the Plan Commission may not approve an application for a conditional use unless it
can find that all of the standards found in Section 28.183(6)(a), Approval Standards for Conditional Uses, are met.
That section states: “The City Plan Commission shall not approve a conditional use without due consideration of
the recommendations in the City of Madison Comprehensive Plan and any applicable, neighborhood,
neighborhood development, or special area plan, including design guidelines adopted as supplements to these
plans. No application for a conditional use shall be granted by the Plan Commission unless it finds that all of the
[standards for approval in Section 28.183(6) are met].”

The statement of purpose for the CI District states that the district “is established to recognize the City’s major
educational and medical institutions as important activity centers and traffic generators, accommodate the
growth and development needs of these institutions, and coordinate the master plans of these institutions with
the City’s plans, policies and zoning standards.” The district is also intended to “permit appropriate institutional
growth within boundaries while minimizing the adverse impacts associated with development and geographic
expansion;” “balance the ability of major institutions to change and the public benefits derived from change with
the need to protect the livability and vitality of adjacent neighborhoods;” and “encourage the preparation of
Campus Master Plans that enable adjacent neighborhoods and the broader community to understand the levels
of development being proposed, their likely impacts, and appropriate mitigation measures.”
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As noted earlier in the ‘Background’ section of this report, the 56.3-acre Edgewood campus is surrounded on three
sides by single-family residences, with Edgewood Drive and Lake Wingra forming the other edge of the campus. A
significant number of public comments both in support and opposition of the Edgewood High School request has
been submitted for the Plan Commission’s consideration. The comments are attached to the legislative file under
the “Public Comments” links. Among the comments submitted in opposition are those from residents whose
homes are located on the neighboring streets on the west and north sides of the campus, including a number of
individuals with residences across Woodrow Street from the athletic complex. Many of the comments in
opposition include concerns regarding noise from current daytime use of the field (whistles, spectators, coaches,
etc.), which the commenters are concerned will be exacerbated by the installation of lighting. In general,
comments in support of the stadium lighting request parity between Edgewood and other high schools with
lighted athletic fields.

Staff believes that the most relevant standards of approval for this request to meet are standards 1, 3, and 4,
which most directly address the impact that a conditional use may have on surrounding properties:
     1. The establishment, maintenance or operation of the conditional use will not be detrimental to or
        endanger the public health, safety, or general welfare.
     3. The uses, values and enjoyment of other property in the neighborhood for purposes already established
        will not be substantially impaired or diminished in any foreseeable manner.
     4. The establishment of the conditional use will not impede the normal and orderly development and
        improvement of the surrounding property for uses permitted in the district.

Staff does not believe, nor has it received comments or proposed conditions from other agencies, that the other
standards dealing with transportation impacts, the City’s ability to provide services resulting from the
establishment of the conditional use, or design of the project, are pertinent in this case, or that those standards
cannot be met.

While standards 1, 3, and 4 are the ones most often directly or indirectly cited by individuals concerned with some
or many aspects of a controversial conditional use application, they are almost the most difficult standards and
impacts for the Plan Commission to quantify compared to more tangible impacts like utility capacity or traffic
impacts. As many of the public comments received against the subject lighting request to date suggest, many of
the neighbors in close proximity to the Goodman Athletic Complex believe that use of the stadium already creates
impacts on the quality of life in the neighborhood, primarily due to the noise generated from the current use.

However, despite these concerns, staff believes that the Plan Commission may find standards 1, 3, and 4 met to
allow the installation of the proposed lights subject to conditions that would limit the impacts of the expanded
use of the stadium on nearby residents.

In order to allow extended use of the athletic complex into the evening, staff believes that the commission should
focus on the number of events held at the facility and the hours during which those events may occur. Staff
acknowledges that some number of neighbors experience some amount of stadium noise, particularly during
athletic competitions. However, by limiting the number of events that occur in the complex during the evening,
the commission may create a balance between the desire by Edgewood High School to use its athletic complex
for evening sporting events and minimizing impacts on the residential neighborhoods that border the institution
on three sides consistent with statement of purpose for the Campus-Institutional zoning district excerpted above
(emphasis added).
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As outlined in the letter of intent and summarized in the preceding section, Edgewood proposes to use the lights
for an unlimited number of events until 10:00 PM Sunday through Thursday, and until 11:00 PM on Friday and
Saturday, with exceptions for weather, injuries, etc. However, staff feels that some of these proposed limits are
initially too broad to minimize impacts on surrounding properties, and instead recommends a series of conditions
on both the number of events and the hours that the lights may operate. In summary, staff recommends:
     x    That the number of non-practice events be limited. Staff believes that it would be appropriate for the Plan
          Commission to specify a number of scheduled athletic competitions and any events or uses of the field
          that would rely on usage of the proposed lights after 7:00 PM. While not specified in their current request,
          Edgewood proposed up to 40 lighted events as part of their November 2018 request to amend the now-
          repealed campus master plan, which was subsequently reduced in correspondence provided circa January
          7, 2019 to 25 (8 Friday night football games and 17 other athletic competitions). A limitation on the
          number of lighted events would be reasonable with the current conditional use request, with the potential
          for the initial limit of such events to be relaxed in the future by either a minor (alder and Planning Director-
          approved) or major (Plan Commission) alteration. The Plan Commission should consider the input at the
          public hearing from the applicant and community and determine the number of lighted non-practice
          events (athletic competitions/games, school activities) that it feels would be reasonable.
     x    That use of the lights be limited to the Edgewood Campus institutions: Edgewood High School, Edgewood
          Campus School, and Edgewood College. Staff believes that it would be appropriate to limit use of the lights
          to Edgewood High School and the two other educational institutions that share the 56.3-acre campus. As
          noted in Section 28.097(3), all secondary uses in a CI district shall be utilized predominantly in a manner
          that is directly related and complementary to primary uses of the institution. As the lights are proposed
          as an improvement to a secondary use of the Edgewood CI-zoned property, staff feels that limiting use of
          the lights to events by the three institutions is appropriate, and that use by entities other than the three
          schools would not be directly related and complementary to Edgewood’s primary educational use.
     x    That the lights be turned off 30 minutes following the conclusion of a scheduled non-practice event
          (athletic competitions/games, school activities) and no later than 10:00 PM Sunday through Thursday and
          11:00 PM on Friday and Saturday. Staff generally agrees with the proposed hours of operation for the
          lights in the letter of intent. However, the lights should be turned off sooner than 10:00 or 11:00 PM
          whenever possible based on the earlier completion of a scheduled event, including the time needed for
          spectators to exit the complex and for the field to be closed.
          Further, “…specially scheduled activities including, but not limited to, playoff games, games requiring
          overtime periods, weather delays, and health and safety delays” is overly broad. While staff acknowledges
          that injuries occur during athletic competitions, which may cause delay in the completion of a game, and
          that weather can also cause delays, it feels that there is no need to formally incorporate those delays into
          any approval of the stadium lighting. If the proposed lights need to be kept on past 10:00 or 11:00 PM to
          allow a game delayed by weather or injury to be completed, staff recommends that documentation be
          kept by Edgewood so that any such need is substantiated in the event of a complaint against the approved
          conditional use. Otherwise, staff is unconcerned with the need to accommodate any other special
          activities, etc. noted in the letter of intent and does not wish to create any sort of “loopholes” that could
          make enforcing any conditions of approval difficult or impractical.
     x    Event start times shall be scheduled to ensure that the 10:00 or 11:00 PM turn-off time for the lights can
          be met. While injuries, weather delays, and other unexpected occurrences may occur from time to time
          during an athletic competition, other time-related impacts on a game, such as potential overtime or extra
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          time periods, etc., or the time needed for participants and spectators to leave the stadium, should be
          considered when the events are scheduled. To this end, staff recommends that no events be scheduled
          to start after 7:30 PM without exception.
     x    Lights may be used until 7:00 PM for practices, seven days a week. In its original request in November
          2018 to amend the now-defunct campus master plan, Edgewood proposed an unlimited number of
          practices until 7:00 PM. While staff wishes to limit events such as games, it does not feel that trying to
          limit practices would be an effective use of its enforcement resources. Rather, staff proposes to allow
          practices to extend until 7:00 PM each night without exception, out of consideration for nearby residents.
          The effect of this condition essentially would allow the lights to be used after 7:00 PM only for the number
          of scheduled non-practice events (athletic competitions/games, school activities) determined by the Plan
          Commission as discussed above.
     x    That no changes to landscaped buffer on north and west be allowed without approval. Staff has not taken
          a position on the height of the poles proposed to light the athletic complex. However, it acknowledges
          the visual buffer that the existing landscaping along the west and northwest sides of the stadium provides
          from nearby residential properties, and recommends that no changes to that landscaping be allowed
          without approval of an alteration.

However, to reiterate, any lighting installed will be required to comply with Madison General Ordinances, and
staff does not advise that the Plan Commission apply conditions that may be contrary to the sections of MGO that
otherwise govern.

Conclusion
Edgewood High School is requesting conditional use approval to light its Goodman Athletic Complex using four
poles of either 68 or 80 feet in height to allow use of the athletic field to continue into the evening hours past
sunset. No other approvals, including enlarging the stadium or installation of a permanent sound system, are
proposed at this time. As with many recent land use requests involving Edgewood, the lighting request has proven
to be controversial, as evidenced by the significant number of public comments received, which are attached to
the legislative file. While many of the comments received to date suggest an existing impact on uses, values, and
enjoyment, the normal and orderly development of surrounding properties, or a negative impact on the public’s
“general welfare” from the daytime (unlighted) use of the athletic complex primarily due to noise generated, staff
believes that the Plan Commission may find the conditional use standards met to allow the installation and use of
lighting for the stadium under specific and limited conditions intended to minimize any further impact on the area
surrounding the complex, bearing in mind that the daytime use of the complex without lights is allowed by right.

While limited use of the athletic complex after dark may exacerbate the noise impacts suggested by many of those
commenting on the request, staff believes that a well-regulated conditional use approval can balance the needs
of Edgewood while minimizing further impact on surrounding properties consistent with the statement of purpose
of the Campus-Institutional zoning district. The conditions proposed by staff are intended to uniformly limit the
hours that the lights may be used, and to ensure that the 10:00 or 11:00 PM proposed end-times for scheduled
events are met with rare exception due to injury or weather. Staff believes that the Plan Commission should
establish a specific number of non-practice events per school year that use the proposed lights following input at
the public hearing to inform what a reasonable number might be. In the event that use of the lighted field
successfully balances the needs of the athletic program at Edgewood with minimizing the impacts on neighboring
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properties, the number of events and other proposed conditions to limit this approval could be modified through
the conditional use alteration process outlined in Section 28.183 of the Zoning Code.

Finally, as with any conditional use, the Plan Commission retains continuing jurisdiction for the purpose of
resolving complaints as outlined in Section 28.183(9)(d) of the Zoning Code. Any resident, the Zoning
Administrator, or other official may file a written complaint with the Plan Commission that one or more conditions
of a conditional use have not been completed, or are being violated. If this were to occur, the Plan Commission
would initially determine whether the complaint indicates a reasonable probability that the subject conditional
use is in violation of a condition of approval, and if it does, may schedule a public hearing to bring the subject
conditional use into compliance with the conditions previously imposed, modify the existing conditions, and
impose additional reasonable conditions in consideration of the conditional use standards. If no reasonable
modification can be made, the Plan Commission may revoke the conditional use.

Recommendation
The Planning Division believes that the Plan Commission can find the standards for conditional use approval met
to approve the installation of lights for the Goodman Athletic Complex at Edgewood High School at 2219 Monroe
Street subject to the following conditions of approval and input at the public hearing.

Major/Non-Standard Conditions are Shaded

Planning Division (Contact Tim Parks, 261-9632) and Zoning Administrator (Contact Matt Tucker, 266-4569)
1. The final plans shall note that the photometric data represents compliance with MGO Section 10.085.

2. That the use of the lights for non-practice events (athletic competitions/games, school activities) be limited
   to Edgewood High School, Edgewood Campus School, and Edgewood College.

3. That stadium lighting used for practices be turned off at 7:00 PM nightly, without exception.

4. That, without exception, the number of scheduled non-practice events (athletic competitions/games, school
   activities) using the stadium lighting after 7:00 PM be limited to a number per school year (August 1 to July
   31) to be determined by the Plan Commission following input at the public hearing.

5. That the lights be turned off 30 minutes following the conclusion of a scheduled non-practice event (athletic
   competitions/games, school activities) and no later than 10:00 PM Sunday through Thursday and 11:00 PM
   on Friday and Saturday.

6. No non-practice event (athletic competitions/games, school activities) using the lights shall be scheduled to
   start after 7:30 PM, without exception.

7. A landscaping plan shall be submitted for the athletic field, identifying existing species and size of trees and
   shrubs. This landscaping shall be maintained, dead trees replaced, and any new landscaping shall require
   approval of an alteration to the approved landscape plan.

**Conditions 2-7 above may be amended by approval of a minor alteration to the conditional use by the
Director of the Planning Division following a recommendation by the district alder. If the minor alteration is not
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approved, the applicant shall file the request for alteration of the approved conditional use with the Plan
Commission for consideration pursuant to the process and standards in Section 28.183 of the Zoning Code.

The proposed conditional use request was circulated to City agencies for review and comment per standard
practice. Following review, none of those agencies has recommended conditions of approval for this request.
However, a general comment on the request from Capt. Jason Freedman, Midtown Precinct of the Madison
Police Department is attached as “MPD Comments” for the Plan Commission’s consideration.
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